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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 TOOLING, MANUFACTURING &
 TECHNOLOGIES ASSOCIATION,

       Plaintiff,

 v.                                                  Case No. 08-cv-11812

 HARTFORD FIRE INSURANCE                             HONORABLE STEPHEN J. MURPHY, III
 COMPANY,

       Defendant,

 v.

 MARK TYLER; TEAM MARKETING
 GROUP, INC. d/b/a TYLER
 CONSTRUCTION, INC., TEAM BENEFITS
 GROUP, INC.,
 ALLIED RISK, INC.; and
 MARK TYLER & ASSOCIATES, INC.,

       Third-Party Defendants.
                                         /

                     OPINION AND ORDER GRANTING DEFENDANT'S
                    MOTION FOR SUMMARY JUDGMENT (docket no. 37)

       This is an insurance coverage dispute predicated on diversity jurisdiction, 28 U.S.C.

 § 1332(a). Plaintiff claims the policy it purchased requires Defendant to pay it $300,000

 for its loss due to employee theft. Defendant denies liability and has moved for summary

 judgment. Plaintiff also moved for summary judgment in its response brief. For the

 reasons below, the Court will grant Defendant's motion, deny Plaintiff's motion, and enter

 judgment in Defendant's favor.
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                                            FACTS

 1.     The Insurance Policy

        Defendant Hartford Fire Insurance Company (“Hartford”) issued an insurance policy

 (“Policy”) effective September 16, 2003, naming Michigan Tooling Association1 (“TMTA”)

 as the only insured. Policy (docket no. 37, ex. D, at 1). Subsequently, the following entities

 were named as additional insureds on the Policy: MTA Salaried Employee Defined Benefits

 Plan, MTA Money Purchase Pension Plan, MTA Salaried Employee Defined Contribution

 Plan, MTA Deferred Compensation Plan, MTA Insurance Trust, and MTA Dental Trust. Id.

 at 2. No other entities were added during the life of the Policy.

        Among the types of loss covered by the Policy are losses resulting from “employee

 theft." Coverage for each occurrence of employee theft is capped at $300,000, subject to

 a $5,000 deductible.2 Id. at 3. Insuring Agreement 1 of the Policy further defines the scope

 of coverage for “employee theft" and states that Hartford will pay for “loss of or damage to

 ‘money’, ‘securities’ and ‘other property’ which results directly from ‘theft’ by an ‘employee’,

 whether or not identifiable, while acting alone or in collusion with other persons.” Id. at 4

 (II(A)). There is no dispute as to the meaning of any word or phrase in Insurance

 Agreement 1, except for the word “directly.”         The parties also agree that Insuring

 Agreement 1 is the only agreement applicable in this case.




        1
       Michigan Tooling Association later changed its name to Tooling, Manufacturing
 &Technologies Association (“TMTA”).
        2
         TMTA concedes for purposes of this motion that the instances of employee theft
 at issue in this case constitute only one such “occurrence,” and that TMTA may recover a
 maximum of $300,000, less its deductible.

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        The Policy states that Hartford will pay for direct losses, but excludes payment for

 indirect ones. Specifically, the "Consideration clause" provides:

        In exchange for the payment of premium and subject to the Declarations,
        Insuring Agreements, Exclusions, General Conditions, Definitions and terms
        of this Policy, we will pay for loss which you sustain resulting directly from
        acts committed or events occurring at any time and discovered by you during
        the Policy Period shown in the Declarations or during the period of time
        provided in General Condition L., EXTENDED PERIOD TO DISCOVER
        LOSS.

 Id. at 4 (emphasis added, caps in original).

        With respect to indirect losses, the Policy provides:

        V.      EXCLUSIONS:

                This Policy Does Not Apply To And We Will Not Pay For:

                      H. Indirect Loss

                Loss that is an indirect result of any act or “occurrence” covered by
                this Policy including but not limited to loss resulting from: 1) your
                ability to realize income that you would have realized had there been
                no loss of or damage to “money”, “securities” or “other property”....

 Id. at 6 (V(H)).

 2.     TMTA and the Agency

        Plaintiff TMTA is a trade association whose members are involved primarily in the

 manufacturing and tooling industries. TMTA Insurance Agency, LLC (the “Agency”) is a

 Michigan limited liability company that brokers insurance policies for TMTA members.

 TMTA is the Agency's sole member and TMTA’s entire revenue derives primarily from the

 Agency in the form of commissions from insurance companies paid directly to the Agency

 for brokering policies to TMTA members. The Agency has no employees and its property

 consists only of the commissions paid to it by insurance companies for sales of policies to

 TMTA members. TMTA accounts for all of the Agency’s income as part of its federal and

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 state filings. Thus, each year, TMTA receives the entire benefit or loss from the Agency’s

 operations. The Agency appears to have been formed by TMTA for the sole purpose of

 receiving insurance commissions.3

 3.     Employee Theft

        TMTA hired Mark Tyler as the Agency's General Manager for the purpose of

 brokering life, health, disability, and accident insurance for TMTA members. Tyler was paid

 a salary and an annual bonus by TMTA. All commissions paid by insurance companies for

 policies brokered by Tyler were to be paid to the Agency, not to Tyler or TMTA.4 Tyler

 resigned effective February 28, 2007. After he left, TMTA discovered he had diverted

 insurance commissions to himself through entities he owned exclusively.

        TMTA and the Agency sued Tyler and his entities in state court for misappropriation

 of the commissions. After a bench trial, Tyler and his entities were found liable to TMTA

 and the Agency for $715,441.65, after a partial offset. The parties do not dispute that

 Tyler’s conduct constitutes “theft” for purposes of the policy or that he was an “employee”

 under the policy.




        3
         Under Michigan law, “An insurer or insurance producer shall not pay a commission,
 service fee, or other valuable consideration to a person for selling, soliciting, or negotiating
 insurance in this state if that person is required to be licensed under this chapter and is not
 so licensed.” Mich. Comp. Laws § 500.1240. TMTA could not receive insurance
 commissions directly from insurance companies as it was not a "licensed producer."
 Therefore, commissions had to be paid to the Agency, a licensed producer.
        4
          In the state court action brought by TMTA against Tyler for misappropriation of the
 commissions, Tyler brought a counterclaim for unjust enrichment seeking payment of
 unpaid commissions. TMTA argued successfully that a counterclaim would not lie against
 it because it had no legal authority to collect insurance commissions and was therefore not
 unjustly enriched. Rather, TMTA argued, the Agency was the proper defendant in Tyler's
 claim. The court agreed and dismissed Tyler's counterclaim against TMTA.

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 4.     TMTA’s Claim on the Policy

        On May 21, 2007, TMTA wrote Hartford stating that it had discovered Tyler’s theft

 and requested that Hartford process a claim for the loss. Hartford responded stating that

 it was opening a claim file and requested TMTA to submit further information and formal

 Proof of Loss. TMTA responded, providing all the requested information and a formal Proof

 of Loss. Over the course of the next year, Hartford continued to request further information

 in support of the loss.

        On December 19, 2007, TMTA submitted an Amended Proof of Loss providing

 documentation supporting its claim that Tyler had stolen $784,447.39 in commissions and

 bonuses from TMTA. Hartford has never made a determination of coverage.

 5.     Procedural History

        Because Hartford failed to determine coverage, TMTA brought an action in Oakland

 County Circuit Court seeking declaratory judgment and damages for breach of contract.

 Hartford removed on the basis of diversity jurisdiction. TMTA is a Michigan corporation with

 a principal place of business in Michigan. Hartford is a Connecticut corporation with a

 principal place of business in Connecticut. The amount in controversy exceeds $75,000.

 The Court has jurisdiction. See 28 U.S.C. § 1332(a).

        Shortly after removing, Hartford filed a third-party complaint against Tyler and his

 wholly-owned entities seeking indemnity. Tyler answered the complaint and has pleaded

 affirmative defenses.

        Hartford filed a motion for summary judgment on TMTA's claims. Although the

 briefing relates only to the declaratory judgment claim, TMTA concedes that its breach of

 contract claim is duplicative of the declaratory judgment claim and the claims rise or fall


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 together. TMTA included a motion for summary judgment in its response brief.5 Both

 parties concede the absence of any genuine issue of material fact, and argue that each is

 entitled to judgment as a matter of law.

                                           DISCUSSION

 I.       Legal Standards

            Rule 56(c) of the Federal Rules of Civil Procedure provides that summary judgment

 “should be rendered if the pleadings, the discovery and disclosure materials on file, and any

 affidavits show that there is no genuine issue as to any material fact and that the movant

 is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c). Summary judgment is the

 appropriate method for resolving purely legal issues involving no issues of disputed fact

 that require submission to a fact-finder.

            “Under the long-standing Erie doctrine, in actions brought in federal court invoking

 diversity jurisdiction, a court must apply the same substantive law as would have been

 applied if the action had been brought in a state court of the jurisdiction where the federal




      5
     TMTA's election to include its cross-motion for summary judgment in its response brief,
 rather than in a separate motion for summary judgment, was improper. Although a moving
 party may combine its supporting brief with its motion (so long as the brief begins on a
 separate page), see E.D. Mich. LR 7.1(c)(1), the reverse is not permitted. That is, a party
 opposing a motion may not contain a cross-motion in a response brief. See E.D. Mich. LR-
 Appendix ECF, R5(e) ("[A] response or reply to a motion must not be combined with a
 counter-motion. Papers filed in violation of this rule will be stricken."). Rather, a cross-
 motion must be filed independently of the response brief, though nothing would prohibit
 using the same brief for the response brief and the brief supporting the cross-motion.
 Parties are required to know the District's Local Rules before appearing. See E.D. Mich.
 LR 83.20(a)(1) ("A person practicing in this court must know these rules ...."). But even had
 TMTA properly filed a cross-motion for summary judgment, the Court would deny the
 motion because, for the reasons stated below, TMTA is not entitled to judgment as a matter
 of law. See Fed. R. Civ. P. 56(c).

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 court is located.” Corrigan v. U.S. Steel Corp., 478 F.3d 718, 723 (6th Cir. 2007). Since

 TMTA asserts only state causes of action, the Court applies Michigan substantive law.

 II.       Analysis

             The parties do not dispute that TMTA was a named insured under the Policy and

 that Tyler stole commissions payable to the Agency, a separate legal entity owned entirely

 by TMTA. What is disputed, however, is whether the Policy covers this type of loss to

 TMTA. Hartford claims that the Agency is the only entity that suffered a direct loss and that

 TMTA has only suffered an indirect loss expressly excluded from coverage under the

 Policy. TMTA argues that it suffered a direct loss covered by the Policy.6

             "An insurance policy is much the same as any other contract. It is an agreement

 between the parties in which a court will determine what the agreement was and effectuate

 the intent of the parties.” Auto-Owners Ins. Co. v. Churchman, 440 Mich. 560, 566 (1992).

 A court applies a two-part test to determine what the parties agreed to. Heniser v.

 Frankenmuth Mut. Ins., 449 Mich. 155, 172 (1995). First, a court must determine if the

 policy provides coverage to the insured. If it does, the court next determines whether

 coverage is negated by an exclusion. Id. Exclusionary clauses are strictly construed in

 favor of the insured. Auto-Owners, 440 Mich. at 567. Clear and specific exclusions must

 be given effect. A court may not rewrite the policy according the equities in the case and

 hold an insurance company liable for a risk it did not assume. Id. Ambiguous clauses or

 phrases are construed in favor of the insured. Heniser, 449 Mich. at 160.




       6
     TMTA also seeks damages based on Hartford's refusal to pay the claim. For reasons
 discussed below, the Court does not reach this issue.

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        Tyler was the General Manager of the Agency. The insurance commissions he stole

 were properly payable to the Agency and thus property of the Agency. Therefore, if the

 Agency were a named insured under the Policy, coverage for this loss would be clear. The

 Agency, however, was never added as a named insured. TMTA chose to add numerous

 related entities to the Policy, but, for whatever reason, never chose to add the Agency as

 a named insured. TMTA now relies on the close relationship between TMTA and the

 Agency in claiming that TMTA suffered a direct (and therefore covered) loss due to the

 theft. It is the Court's job to determine, as a matter of law, whether the Policy is susceptible

 of such an interpretation.

        The two-part test for determining coverage is merged into one in this case because

 of the language used in the Policy. Specifically, the Policy's Considerations Clause

 provides that it will pay for losses "which you sustain directly from acts" that include

 employee theft. In further illumination of what is "direct loss," the Policy specifically

 excludes from coverage all "Indirect Loss," which includes the insured's "inability to realize

 income [it] would have realized had there been no loss [due to theft]." Policy V(H)(1). The

 question, then, is whether TMTA's loss due to Tyler's theft was indirect. If the loss falls into

 one of the examples of indirect loss provided in the Policy, TMTA's loss is excluded from

 coverage.

        The Court concludes that TMTA's loss due to Tyler's theft was indirect, and thus

 expressly excluded from coverage. The loss falls squarely within one of the examples

 provided in the indirect loss exclusion clause: "your inability to realize income that you

 would have realized had there been no loss [due to theft]". Policy V(H)(1). Because of

 Tyler's theft, TMTA was unable to receive the income it would have received from the


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 Agency as pass-through income. The insurance commissions were to be remitted directly

 to the Agency by the insurance companies and were later realized by TMTA only as income

 earned only by virtue of its being the sole member and owner of the Agency. As TMTA

 states in its briefing, "[The Agency's] property was the Commissions paid to it by insurance

 companies who sold products to TMTA members. All of the Agency's income was

 accounted for by TMTA as part of TMTA's federal and state tax filings. TMTA took all of

 the Agency's income as pass-through income." Pl. Resp. Br. 12.

        To be sure, the relationship between TMTA and the Agency appears to be

 seamless. The Agency was, in reality, a disregarded entity. TMTA accounted for the

 Agency's entire profit and loss in TMTA's annual filings, the Agency had no employees,

 except Tyler, who was hired and paid by TMTA, and it had no property except the

 commissions received from insurance companies. This de facto identity between the

 Agency and TMTA, however, is not relevant here since the Agency is, by law, a separate

 legal entity with rights separate and distinct from those of its members. See Trident-Allied

 Assocs., LLC v. Cypress Creek Assocs., LLC, 317 F. Supp. 2d 752, 754 (E.D. Mich. 2004)

 ("[The] Michigan legislature fashioned the limited liability company to be a legal entity

 distinct from its members."). TMTA can have no direct interest in any Agency, including the

 commissions stolen by Tyler. See Mich. Comp. Laws § 450.4504(2) ("A member has no

 interest in specific limited liability company property."). For the Court to treat TMTA and the

 Agency as the same legal entity would disregard the distinction the law makes between the

 two, and dishonor TMTA's business decisions to create the Agency as separate legal entity

 and not add it as an insured to the Policy. Therefore, under the plain reading of the Policy,

 any loss suffered by TMTA as a result of Tyler's theft was simply its inability to realize


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 income from the Agency. This type of loss is expressly excluded from coverage as an

 indirect loss. See Policy V(H)(1) ("[I]ndirect loss ... include[s] but [is] not limited to loss

 resulting from ... your inability to realize income that you would have realized had there

 been no loss ...").

        TMTA attempts to re-frame the issue and asks the Court to focus not on the

 relationship between TMTA and the Agency, but rather on the relationship between TMTA

 and Tyler. It argues that Tyler was a TMTA employee and owed fiduciary duties that

 required him to turn over to TMTA any commissions inadvertently or wrongfully paid to him

 directly by insurance companies. But for Tyler's theft, TMTA argues, TMTA would have

 received the commissions directly from Tyler so TMTA's loss is properly considered direct

 (and not excluded). Though thoughtful and creative, this argument ultimately fails. The

 commissions were payable only to the Agency. So, to the extent any commissions were

 wrongfully or inadvertently made payable to Tyler or his entities, Tyler had a duty to turn

 them over to the Agency, and not TMTA. In fact, TMTA successfully argued in state court

 that any insurance commissions were required to be made payable to the Agency and not

 TMTA. Thus, regardless of whether Tyler would have been permitted by law to assign to

 TMTA any commissions he himself received, see Mich. Comp. Laws § 1240(4), that was

 not the arrangement TMTA had with Tyler in this instance. The arrangement instead

 provided that all commissions were to be made payable to the Agency, not TMTA or Tyler.

 It is apparent that the Agency was formed for the sole purpose of collecting insurance

 commissions and if Tyler was able to collect the commissions and assign them to TMTA,

 there would have been no reason to form the Agency in the first place. For whatever

 reason, TMTA decided to create the Agency for the purpose of receiving insurance


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 commissions brokered to TMTA members rather than to have Tyler assign his commissions

 to TMTA once received. The Court will respect that decision.

        TMTA focuses the Court's attention most specifically on Philip R. Seaver Title Co.,

 Inc. v. Great Am. Ins. Co., No. 08-11004, 2008 WL 4427582 (E.D. Mich. Sept. 30, 2008)

 (Cleland, J.) in which the court held on summary judgment that the insured was entitled to

 insurance coverage. The insured in that case was a title insurance company that also

 offered escrow services to clients in real estate closings. After an employee embezzled

 escrow funds, the company reimbursed its clients' escrow funds from the company's

 general account and later made a claim against its insurance policy for reimbursement.

 The insurance company argued that the insured's transfer of money from its general fund

 to the escrow accounts took the funds out of the policy's coverage because the funds were

 only used to "reimburse third parties," a classic type of indirect loss according to the

 insurance company. The court determined that such a reading was in conflict with the plain

 and ordinary meaning of a "direct loss." It reasoned, "Plaintiff's employee stole money from

 one account, which Plaintiff then replaced from another account. When its employee acted

 dishonestly, Plaintiff's overall funds were directly impacted. Thus, coverage for the transfer

 of funds follows under the [policy]." Id. at *3. TMTA argues that just as in Seaver, when

 Tyler stole the insurance commissions, TMTA's "overall funds" were directly impacted so

 its loss was direct.

        Seaver is distinguishable in two significant ways. First, it involved different issues.

 The issue there was whether a mere transfer of funds from different accounts within in the

 same company converted the loss from a direct one to an indirect one. The court rejected

 the defendant's argument to that effect and found that the loss was direct. The issue in this


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 case, by contrast, is whether an insured's working relationship with a non-insured is so

 close that the Court should treat the two as one. For the reasons already stated, the Court

 concludes that doing so would contravene the intent of the parties as expressed in the

 Policy. So even though it is true that TMTA's "overall funds were ... impacted," they were

 only indirectly impacted by Tyler's theft. Second, the exclusions clause in the policy in

 Seaver was not similar to the one in this case. The loss here merely prevented TMTA from

 later realizing the commissions as income, a type of loss expressly excluded from coverage

 by the terms of the Policy.

        The other cases cited by TMTA for support are also inapposite. See Pl. Resp. Br.

 15-17. In Dewitt Bldg. Co. v. Auto-Owners Ins. Co., No. 235536, 2003 WL 21362804 (Mich.

 App. June 12, 2003), the plaintiff sought coverage for damages it incurred as a result of the

 defendant insurance company's failure to pay the claim at issue. The policy did not contain

 a clause excluding such loss and the court, in denying the defendant's motion for partial

 summary disposition, refused to read the policy broadly to include such an exclusion: "An

 insurer must clearly state policy exclusions. Here, the ... policy does not contain an

 exclusion for indirect damages resulting from the insurer's failure to pay claims, therefore,

 it does not exclude those losses." Id. at *2 (internal citation omitted). The holding in DeWitt

 does not apply here because the type of loss at issue in that case did not fall squarely into

 one of the exclusions in the policy. In this case, by contrast, the loss falls squarely within

 the exclusion for unrealized income.

        In Morris Kirschman & Co., L.L.C. v. Hartford Fire Ins. Co., No. 03-1743, 2004 WL

 1934848 (E.D. La. Aug. 30, 2004), the plaintiff sought coverage for loss it incurred as a

 result of giving certain employees merit-based raises when the basis for the raises was


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 predicated on a fraud. The district court denied the insurance company's motion for

 summary judgment, concluding that this type of loss was not expressly excluded by

 language in the policy, and in fact was expressly included by the policy's terms. Id. at *2.

 Morris is distinguishable because the type of loss suffered by the insured in that case was

 expressly included by the coverage clause and did not fall squarely into one of the

 exclusions. In this case, the loss falls squarely within exclusion for unrealized income.

        In Peoples Sav. Bank of Grand Haven v. Am. Sur. Co. of New York, 15 F. Supp. 911

 (D.C. Mich. 1936), the plaintiff bank sought coverage for a loss it incurred when it was

 robbed of unissued travelers checks later cashed in various states. The plaintiff bank had

 to pay a judgment to the bank that initially issued the travelers checks to the plaintiff. It

 later made a claim for reimbursement of the amount of the judgment plus attorneys fees

 and costs, which the insurance company denied. The district court entered judgment in the

 plaintiff bank's favor after concluding that, based on the banking industry's practice of

 payment of stolen traveler's checks and the insurance company's familiarity with that

 practice, coupled with the lack of a "clear and express" exclusion of coverage for the loss

 at issue, the type of loss was contemplated by the parties when they entered into the

 insurance policy. Id. at 913-14. Peoples Sav. is distinguishable because in this case, there

 exists no analogous applicable industry practice of which Hartford must have been aware.

 And, more importantly, there exists an express exclusion covering precisely the loss at

 issue here.

        Based on the clear and unambiguous language in the Policy, specifically the

 exclusion of coverage for TMTA's inability to realize income, TMTA is not entitled to

 coverage for Tyler's theft of the insurance commissions. If the Court were to determine that


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 TMTA is entitled to coverage for the stolen commissions, the Court would be rewriting the

 Policy to either include the Agency as a named insured or to excise the express exclusion

 at paragraph V(H)(1). Based on the language in the Policy, Hartford never agreed to cover

 this liability and the Court has no power to rewrite the Policy and hold it responsible for risks

 it did not assume. See Auto-Owners, 440 Mich. at 567 ("It is impossible to hold an

 insurance company liable for a risk it did not assume.")

                                CONCLUSION AND ORDER

        The Court concludes that TMTA is not entitled to coverage for the loss it incurred by

 reason of Tyler's theft of insurance commissions.          Accordingly, the Court will grant

 Hartford's motion for summary judgment and enter judgment in its favor. This resolves all

 issues in the case -- including the third-party complaint -- and the matter is closed.

        WHEREFORE it is hereby ORDERED that Defendant Hartford's motion for summary

 judgment (docket no. 37) is GRANTED and judgment will be entered in its favor.

        SO ORDERED.

                                             s/Stephen J. Murphy, III
                                             STEPHEN J. MURPHY, III
                                             United States District Judge

 Dated: August 30, 2010

 I hereby certify that a copy of the foregoing document was served upon the parties and/or
 counsel of record on August 30, 2010, by electronic and/or ordinary mail.

                                                     Andrea Teets
                                                     Deputy Clerk




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